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                             UNITED STATES DISTRICT COURT

  United States of America,
                           ee
           Plaintiff-Appell__________,                                  16-CR-0284
                                                    District Court No. ___________________
   v.
  Donald Iley,                                      Court of Appeals No.
                          ant
          Defendant-Appell________.
                                                     17-1269
                                                    ___________________
                                                    (if known)


NOTE: THIS DESIGNATION FORM MUST BE COMPLETED AND FILED IN
ACCORDANCE WITH THE INSTRUCTIONS ON THE REVERSE SIDE OF THE
FORM.

       Those original papers which have been designated by circling their respective docket
numbers (or dates of entry) on the attached copy of the district court’s docket sheets should be
included in the record on appeal prepared by the clerk of the district court and transmitted to
the clerk of the court of appeals. (If the district court clerk so elects, original papers may be
retained in the district court and copies thereof may be included in the record on appeal.)
       The following items should also be included in the record on appeal. (Portions of
transcripts should be designated by hearing dates and page numbers.)
          none
       1.____________________________________________________________________

       2.____________________________________________________________________

       3.____________________________________________________________________

       4.____________________________________________________________________

       5.____________________________________________________________________
                         (Attach additional sheets if necessary)

                                                          s/ Josh Lee
                                              Signature: _______________________________

                                                            Defendant-Appellant
                                              Counsel for: ________________________________

I hereby certify that a copy of this designation, with docket sheets attached, was served on
                                                                        10/06/2017
opposing counsel and filed with the clerk of the court of appeals on _____________________.

            s/ Josh Lee
Signature: ______________________________________


  A-9 Designation of Record Form 12/09
